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June 9, 2020

VIA ECF

The Honorable Renee Marie Bumb
United States District Judge
Mitchell H. Cohen Building & U.S. Courthouse
4th & Cooper Streets, Room 1050
Camden, New Jersey 08101

       Re:     Wragg, et al. v. Ortiz, et al.
               Civil Action No. 20-cv-5496-RMB


Dear Judge Bumb,

On behalf of the Petitioners in the above-referenced action, we write to bring to the Court’s
attention today’s decision by the Sixth Circuit Court of Appeals in Wilson, et al. v. Williams, et
al., No. 20-3447 (6th Cir. June 9, 2020), a case the parties have addressed in their previous
submissions to the Court. A copy of the Sixth Circuit’s decision is enclosed for the Court’s
reference.
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                                    Respectfully submitted,



                              By:    /s/ Tess Borden

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